Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 1 of 32 PageID: 1
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 2 of 32 PageID: 2
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 3 of 32 PageID: 3
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 4 of 32 PageID: 4
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 5 of 32 PageID: 5
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 6 of 32 PageID: 6
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 7 of 32 PageID: 7
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 8 of 32 PageID: 8
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 9 of 32 PageID: 9
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 10 of 32 PageID: 10
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 11 of 32 PageID: 11
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 12 of 32 PageID: 12
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 13 of 32 PageID: 13
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 14 of 32 PageID: 14
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 15 of 32 PageID: 15
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 16 of 32 PageID: 16
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 17 of 32 PageID: 17
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 18 of 32 PageID: 18
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 19 of 32 PageID: 19
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 20 of 32 PageID: 20
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 21 of 32 PageID: 21
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 22 of 32 PageID: 22
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 23 of 32 PageID: 23
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 24 of 32 PageID: 24
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 25 of 32 PageID: 25
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 26 of 32 PageID: 26
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 27 of 32 PageID: 27
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 28 of 32 PageID: 28
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 29 of 32 PageID: 29
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 30 of 32 PageID: 30
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 31 of 32 PageID: 31
Case 2:20-cv-01047-JMV-JBC Document 1 Filed 01/30/20 Page 32 of 32 PageID: 32
